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                              UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT
  UNITED STATES SECURITIES AND EXCHANGE
  COMMISSION,                           Civil No. 3:15cv675 (JBA)
        Plaintiff,
        v.
  IFTIKAR AHMED,                        September 16, 2019
        Defendant, and

  IFTIKAR ALI AHMED SOLE PROP; I-CUBED
  DOMAINS, LLC; SHALINI AHMED; SHALINI
  AHMED 2014 GRANTOR RETAINED ANNUNITY
  TRUST; DIYA HOLDINGS LLC; DIYA REAL
  HOLDINGS, LLC; I.I. 1, a minor child, by and through
  his next friends IFTIKAR and SHALINI AHMED, his
  parents; I.I. 2, a minor child, by and through his next
  friends IFTIKAR and SHALINI AHMED, his parents;
  and I.I. 3, a minor child, by and through his next
  friends IFTIKAR and SHALINI AHMED, his parents,

         Relief Defendants.



RULING GRANTING RELIEF DEFENDANTS’ EMERGENCY MOTION FOR APPELLATE
                           ATTORNEY FEES

       Relief Defendants move for the release of $350,000 from the assets of the Receivership

Estate “to pay for Relief Defendants’ appellate counsel, Jenner & Block LLP” (“JB”). (Rel. Defs.’

Mot. for Appellate Fees [Doc # 1273]; see also Rel. Defs.’ Mot. for Funds for Appellate Counsel

[Doc. # 1080].)

       Appeals which are now before the Second Circuit Court of Appeals were stayed pending

this Court’s ruling on Defendant’s Rule 59(e) motion, which was denied on September 4, 2019.

(Ruling Denying Def.’s Mot. to Alter J. [Doc. # 1263].) “As the Court has now ruled on the [Rule
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